     Case 3:19-cv-01281-JLS-BLM Document 15 Filed 12/23/19 PageID.142 Page 1 of 1



1

2                                   UNITED STATES DISTRICT COURT

3                                 SOUTHERN DISTRICT OF CALIFORNIA

4
                                                              Case No.: 19cv1281-JLS(BLM)
5    MARIA HERNANDEZ, an individual, et al.,

6                                           Plaintiffs,       ORDER GRANTING JOINT MOTION TO
                                                              CONTINUE DEFENDANTS’ DISCOVERY
7    v.                                                       MOTION TIMELINE
8    SOUTHWEST KEY PROGRAM, INC., a foreign
                                                              [ECF No. 14]
     nonprofit, et al.,
9
                                         Defendants.
10

11

12          On December 19, 2019, Plaintiffs Maria Hernandez, Roberto Nava, and Azael Sanchez

13   (“Plaintiffs”) and Defendant Southwest Key Programs, Inc. (“Defendant”) moved the Court to

14   continue the deadline for Defendant to file a discovery motion to January 20, 2020. ECF No. 14

15   at 1. In support, the parties assert that continuing the deadline will “allow Plaintiffs sufficient

16   time to provide substantive responses without objections” and will permit Defendant time “to

17   file a discovery motion if needed.” Id. at 2. In further support, the parties state that “Plaintiff’s

18   discovery responses were due on November 20, 2019” but that “Plaintiffs failed to provide” those

19   responses. Id. Therefore, the parties claim that in order to “avoid unnecessary motion practice,

20   the Parties stipulate to continue Defendant’s deadline to file a discovery motion.” Id. Good

21   cause appearing, the Court GRANTS the parties joint motion. The deadline for Plaintiff to file

22   a motion to compel further discovery responses is January 20, 2020. All other requirements

23   set forth in this Court’s August 21, 2019 Scheduling Order Regulating Discovery and other Pre-

24   Trial Proceedings remain in effect. See ECF No. 7.

25          IT IS SO ORDERED.

26   Dated: 12/23/2019

27

28

                                                          1
                                                                                        19cv1281-JLS(BLM)
